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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


__________________________________

In re: Target Corporation Customer Data       MDL No. 14-2522 (PAM/JJK)
Security Breach Litigation

This Document Relates to:

All Consumer Cases
__________________________________

LEIF A. OLSON,

                 Objector.



             OBJECTOR OLSON’S AMENDED NOTICE OF APPEAL



       Out of an abundance of caution, notice is hereby given that objecting class member
Leif A. Olson hereby amends his December 15, 2015 Notice of Appeal (Dkt. No. 668),
currently docketed at the United States Court of Appeals for the Eighth Circuit as Case No.
15-3912. In addition to the already pending appeal from the Court’s Memorandum and
Order (Dkt. No. 645), Olson also appeals the Memorandum and Order (Dkt. 791) granting
Consumer Plaintiffs’ Renewed Motion to Certify Class in Accordance with Limited Remand
Order, entered on May 17, 2017, and all opinions and orders that merge therein.




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Dated: June 2, 2017.         /s/ Melissa A. Holyoak
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                              CERTIFICATE OF SERVICE

        The undersigned certifies she electronically filed the foregoing Amended Notice of
Appeal via the ECF system for the District of Minnesota, thus effecting service on all
attorneys registered for electronic filing. Additionally she caused to be served via first class
mail a copy of the foregoing upon the following:

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Dated: June 2, 2017.                               /s/ Melissa A. Holyoak




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